                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              Civil No. 5:16-CV-00365-FL

MICHAEL J. MORGAN,

                              Plaintiff,

                v.
                                                   JOINT NOTICE OF CASE SETTLEMENT
RICKY J. SPIVEY, et. al,

                              Defendants.



        NOW COME Plaintiff and Defendants, by and through their respective undersigned

counsel, and hereby advise the Court that the parties have reached a settlement of all claims in this

matter and that counsel are working diligently at this time to memorialize the same in the form of

a written settlement and release agreement. Accordingly, the parties jointly request that all pending

deadlines in this matter be stayed and this matter be removed from the active docket. The parties

anticipate filing a Stipulation of Dismissal with Prejudice no later than within forty-five days of

this filing.

        Respectfully submitted by consent, this the 25th day of October, 2019.

 ZAYTOUN BALLEW & TAYLOR, PLLC                     POYNER SPRUILL LLP

 /s/ Matthew D. Ballew                             /s/ J. Nicholas Ellis
 Matthew D. Ballew                                 J. Nicholas Ellis
 N.C. State Bar No.: 39515                         N.C. State Bar No. 13484
 mballew@zaytounlaw.com                            jnellis@poynerspruill.com
 3130 Fairhill Drive, Suite 100                    P.O. Box 1801
 Raleigh, NC 27612                                 Raleigh, NC 27602-1801
 Telephone: (919) 832-6690                         Telephone: 919.783.2907
 Facsimile: (919) 831-4793                         Facsimile: 919.783.1075
 Attorneys for Plaintiff                           Attorneys for Defendants




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           Case 5:16-cv-00365-FL Document 227 Filed 10/25/19 Page 1 of 2
                               CERTIFICATE OF SERVICE

        I hereby certify that this day I electronically filed the foregoing JOINT NOTICE OF
CASE SETTLEMENT with the Clerk of Court using the CM/ECF system, which will send
notification to the following CM/ECF participants:


      J. Nicholas Ellis
      Poyner & Spruill LLP
      P.O. Box 1801
      Raleigh, NC 27602
      Counsel for Defendants

      J. Matthew Little
      Teague Campbell Dennis & Gorham, LLP
      P.O. Box 19207
      Raleigh, NC 27619
      Counsel for Defendants


      This the 25th day of October, 2019.

                                   ZAYTOUN BALLEW & TAYLOR, PLLC

                                   /s/ Matthew D. Ballew
                                   Matthew D. Ballew
                                   Attorneys for Plaintiff




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         Case 5:16-cv-00365-FL Document 227 Filed 10/25/19 Page 2 of 2
